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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Middle District
                                                     __________        of of
                                                                District  Louisiana
                                                                             __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 21- mj-107
            THE PREMISES LOCATED AT                                          )
                302 MULBERRY ST.                                             )
         DONALDSONVILLE, LOUISIANA 70346
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment "A"

located in the               Middle               District of                 Louisiana                 , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment "B"


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        Title 21, United States Code,             Possession with intent to distribute and distribution of methamphetamine and
        Sections 841(a)(1) and 846                marijuana.

          The application is based on these facts:
        See Attached Affidavit

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached hed sheet.


                                                                                                       Applicant’s signature

                                                                                            Jason A. Dohm, DEA Task Force Officer
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by


                                                                                      s
                      telephone                       (specify reliable electronic means).


Date:            12/08/2021
                                                                                                         Judge’s signature

City and state: Baton Rouge, Louisiana                                                  Erin Wilder-Doomes, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


IN THE MATTER OF THE APPLICATION                 :
OF THE UNITED STATES OF AMERICA                  :   MAGISTRATE NO. 21- mj-107
FOR A WARRANT AUTHORIZING THE                    :
SEARCH OF THE PREMISES LOCATED                   :   UNDER SEAL
AT 1713 ST. PATRICK ST., APARTMENT               :
145, DONALDSONVILLE, LOUISIANA                   :
70346 AND 302 MULBERRY ST.,                      :
DONALDSONVILLE, LOUISIANA, 70346                 :


      AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

        Your Affiant, Jason A. Dohm, a Task Force Officer (“TFO”) with the Drug Enforcement

Administration (“DEA”), being duly sworn, deposes and states as follows:

I.      INTRODUCTION

        1.     I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure and Title 21, United States Code, Section 879, for a warrant to

search the following locations:

        a.     1713 St. Patrick St., Apartment 145, Donaldsonville, Louisiana 70346; and

        b.     302 Mulberry St., Donaldsonville, Louisiana 70346

as further described in Attachment A, for the things described in the following paragraphs and

further described in Attachment B.

II.     AGENT BACKGROUND

        2.     I am a law enforcement officer of the United States within the meaning of Title

18, United States Code, Section 2510(7), that is, an officer of the United States who is

empowered by law to conduct investigations of and to make arrests for offenses enumerated in

Title 18, United States Code, Section 2516.
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       3.      Since March 2016, I have been assigned to the Baton Rouge District Office

(“BRDO”) of the DEA from my host agency, the Baton Rouge City Police Department

(“BRPD”). I have been employed with the BRPD since April 19, 2004, and I have been assigned

to the narcotics division as a narcotics detective since December 2009. I was previously

assigned to the DEA from February 26, 2012 to March 2015. From March 2015 to March 2016,

I was transferred back to the narcotics division of BRPD where I continued investigating

narcotics trafficking cases in the Baton Rouge area. Since being assigned to the DEA as a TFO,

I have conducted numerous investigations of unlawful drug distribution in violation of Title 21,

United States Code, Sections 841(a)(1), 843(b), and 846, and conducted or participated in

electronic and physical surveillance, surveillance of undercover transactions, the introduction of

undercover agents, the execution of search warrants, debriefings of cooperating sources and

reviews of taped conversations and drug records. Through my training, education, and

experience, I have become familiar with the manner in which illegal drugs are transported,

stored, and distributed, and the methods of payment for such drugs. I have conducted and

participated in investigations involving interception of wire and electronic communication

devices, and I am familiar with the ways in which drug traffickers conduct their business

including, but not limited to, their methods of importing and distributing drugs, their use of

cellular telephones and digital display paging devices, to include text messages and their use of

numerical codes and code words to conduct their transactions.

       4.      In addition, I have conducted, in connection with these and other cases, follow up

investigations concerning the concealment of assets, money, bank records, etc., and the

identification of co-conspirators through the use of ledgers, telephone bills and records,

photographs, and bank checks, as related to drug trafficking.



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        5.      I have conducted and participated in investigations involving interception of wire

and electronic communication devices, and I am familiar with the ways in which drug traffickers

conduct their business, including, but not limited to, their methods of importing and distributing

drugs, their use of cellular telephones and digital display paging devices, to include text

messages and their use of numerical codes and code words to conduct their transactions. During

these investigations, I have authored federal affidavits requesting approval for the interception of

wire communications and in support of applications for search warrants. Also during these

investigations, I have reviewed and interpreted thousands of conversations and text messages

related to the distribution of methamphetamine, cocaine, heroin, and other illegal controlled

substances.

        6.      Through my training, education, and experience, I have also learned that drug

traffickers maintain books, records, notes, airline tickets, money orders, and other papers and

documents relating to transportation, ordering, sale, and distribution of illegal controlled

substances in the place where they store their drugs. It is also common for narcotics traffickers

to hide drug sales and records of drug transactions in secure locations within their residence

and/or residence of family member and/or residences of close associates for their ready access

and control and to conceal them from law enforcement. It is also common for narcotics

traffickers to hide records of drug transactions in secure locations within their residence for their

ready access and control, and to conceal them from law enforcement. Narcotics traffickers also

conceal, in their residences, currency, financial instruments, precious metals, jewelry, and other

items of value and/or proceeds of illegal drug transactions, and evidence of financial transactions

relating to obtaining, transferring, secreting, or the spending of the money gained from illegal

narcotics-trafficking activities.



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       7.      Your Affiant knows, through training and experience, that locations used by drug

traffickers to store methamphetamine and marijuana, and package methamphetamine and

marijuana for distribution, often contain tools used for these purposes and other evidence of

narcotics trafficking. These items include, but are not limited to, methamphetamine and

marijuana, kilogram wrappings, latex gloves, digital scales, packaging materials, cooking

materials, cutting materials, mixing devices, rubber gloves, firearms, U.S. currency, and ledgers

or logs containing records of past, present, or future drug transactions. Further, your Affiant

knows, through training and experience, methamphetamine and marijuana traffickers sometimes

keep firearms in their residences to protect the methamphetamine and marijuana and/or money

derived from the sale of narcotics.

       8.      Your Affiant knows, through training and experience, narcotics traffickers often

keep money derived from the sale of illegal controlled substances in their residence.

Furthermore, your Affiant knows, through training and experience, that locations used by

narcotics traffickers to count, store, and package money derived from the sale of illegal

controlled substances often contain tools used for this purpose. These tools include, but are not

limited to, U.S. currency, rubber bands, money counters, plastic wrap, digital calculators, safes,

strong boxes or other lockable containers, and written ledgers documenting dates, and amounts

of currency transferred and to whom these transfers occurred.

III.   PURPOSE OF AFFIDAVIT

       9.      Your Affiant is currently participating in an Organized Crime Drug Enforcement

Task Force (“OCDETF”) investigation involving agents and officers of the DEA, BRPD,

Internal Revenue Service (“IRS”), Iberville Parish Sheriff’s Office (“IPSO”), East Baton Rouge

Parish Sheriff’s Office (“EBRSO”), West Baton Rouge Parish Sheriff’s Office (“WBRSO”),



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Gonzales Police Department (“GPD”), and the Ascension Parish Sheriff’s Office (“APSO”).

This investigation is targeting the methamphetamine and marijuana trafficking activities of the

Reshide WOODEN Drug Trafficking Organization (“WOODEN DTO”) and the Malcolm

OLIVER Drug Trafficking Organization (“OLIVER DTO”), in violation of Title 21, United

States Code, Sections 841(a)(1) and 846.

       10.     I make this affidavit based upon my personal knowledge derived from my

participation in this investigation and upon information from the following sources, which I

believe to be reliable:

               a.         Affiant’s experience investigation drug-trafficking offenses;

               b.         Oral and written reports and documents about this and other investigations
                          which I have received from members of DEA and other local and federal
                          law enforcement agencies, and telecommunications companies;

               c.         Physical surveillance conducted by DEA and other law enforcement
                          agencies, the results of which have been reported to me either directly or
                          indirectly;

               d.         Controlled undercover purchase of methamphetamine;

               e.         Public records;

               f.         Police reports and law enforcement databases;

               g.         Review of pen register/trap and trace information, telephone toll records
                          and subscriber information for telecommunications;

               h.         Reports of consensually monitored and recorded telephone conversations;

               i.         Interviews of confidential sources; and

               j.         Conclusions based on my and other DEA agents, some of whom have
                          been qualified as expert witnesses in narcotics trafficking cases,
                          interpretations of conversations and text messages intercepted pursuant to
                          a court authorized interception of wire and electronic communications.




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       11.     Because this affidavit is being submitted for the limited purpose of seeking

authorization for the issuance of a search warrant, your Affiant has not included each and every

fact learned during the course of this investigation. Facts not set forth herein are not being relied

upon in reaching the conclusion that a search warrant should be issued.

       12.     As set forth below, there is probable cause to believe that Reshide WOODEN

a/k/a “SHIDE” (“WOODEN”) is utilizing 1713 St. Patrick St., Apartment 145,

Donaldsonville, Louisiana 70346, to facilitate his methamphetamine and marijuana trafficking,

including storing, packaging and distributing methamphetamine and marijuana and storing

proceeds derived from the sale of methamphetamine and marijuana.

       13.     As set forth below, there is probable cause to believe that WOODEN is utilizing

302 Mulberry St., Donaldsonville, Louisiana 70346, to facilitate his methamphetamine and

marijuana trafficking, including storing proceeds derived from the sale of methamphetamine and

marijuana and storing, packaging, and distributing illicit narcotics, to include marijuana and

methamphetamine.

       14.     Described below are details of the investigation including some of the pertinent

telephone calls and text messages intercepted over TARGET TELEPHONE 3, as described in

paragraph 19. In some instances, the entire conversation has been included and in others only

the pertinent parts of the conversation are detailed. Where only pertinent parts of a conversation

are detailed, your Affiant has listened to and analyzed the entire telephone call and/or text

message.




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        15.     Your Affiant has included his interpretation, contained within parentheses, of

code words or the meaning of the conversation. Your Affiant’s interpretations of the

conversations and code words are based on experience, prior intercepts, prior investigation and

facts available at the time of the writing of this affidavit.

IV.           PROBABLE CAUSE

        16.     Since February 2021, agents of the DEA BRDO and New Orleans Field Division

(“NOFD”) have been conducting an investigation of the methamphetamine trafficking of the

OLIVER DTO.

        17.     During the course of the investigation, agents identified a telephone number

utilized by Malcolm OLIVER to facilitate his drug trafficking operation. Thereafter, agents

began interceptions of OLIVER’s telephone (TARGET TELEPHONE 1).

        18.     During the course of the investigation, based on interceptions over TARGET

TELEPHONE 1, agents were able to identify WOODEN as a source of methamphetamine for

OLIVER.

        19.     Based on physical surveillance, interceptions of WOODEN over TARGET

TELEPHONE 1, and the analysis of telephone toll and pen register information, agents initiated

court authorized Title III intercepts of 225-323-3204, a telephone used by WOODEN to

facilitate his drug trafficking (“TARGET TELEPHONE 3”). Agents began interceptions of

TARGET TELEPHONE 3 on November 16, 2021 and are still actively intercepting

communications at this time.

        20.     Based on the investigation, your Affiant believes that WOODEN resides at 1713

St. Patrick St., Apartment 145, Donaldsonville, Louisiana 70346, with Raven HARRIS

(“HARRIS”); and that Betty BUTLER (“B. BUTLER”), WOODEN’s grandmother, resides at



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302 Mulberry St., Donaldsonville, Louisiana 70346.

       21.     Included in the Court Order authorizing the interception of wire and electronic

communications occurring over TARGET TELEPHONE 3 is the release of E-911 Phase II

Geo Location data from the service provider. E-911 Phase II Geo Location data is the GPS

location of TARGET TELEPHONE 3. It should be noted that location data is received about

every 15 to 20 minutes and has varying degrees of error in accuracy, given in feet or miles.

When your Affiant states in this affidavit that location data showed TARGET TELELPHONE

3 at or near a specific location, the degree of error has been calculated and your Affiant has

reasonably concluded that the named location is within the area covered by the degree of error.

       22.     Based on intercepted communications over TARGET TELEPHONE 3, agents

determined WOODEN was distributing methamphetamine and/or marijuana to subjects

identified as Denzel GRAY a/k/a “Dank” (“GRAY”), David LEWIS (“LEWIS”), Blain

SLAYTON (“B. SLAYTON”), Robert SLAYTON a/k/a “Opie” (“R. SLAYTON”),

Unknown Male 0925 (“U/M 0925), “KOOLAIDE” (a subject who has been tentatively

identified as Marishell EALEM), and other identified and unidentified subjects.

       A.      Intercepted Communication over TARGET TELEPHONE 3 on November
               17, 2021, wherein WOODEN stated he keeps U.S. Currency at 302 Mulberry
               St., Donaldsonville, LA

       23.     On November 17, 2021, at approximately 11:37 a.m., agents intercepted Session

63, an incoming call from telephone number 225-323-4558, utilized by Shannon BUTLER (“S.

BUTLER”), who has been identified as WOODEN’s mother, over TARGET TELEPHONE 3

to WOODEN.

       24.     During the telephone call, S. BUTLER asked WOODEN, “You (WOODEN)

gonna come outside and give me (S. BUTLER) some money for that insurance?” WOODEN



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asked S. BUTLER, “What insurance, Ma' (Mom)?” S. BUTLER responded, “For the car you

(WOODEN) riding in. The car parked under Betty car, car, carport” (302 Mulberry St.,

Donaldsonville, LA).

        25.      Later during the same telephone call, WOODEN stated to S. BUTLER, “I ain't

got no money on me Ma' (Mom) my money at Maw-Maw Betty (302 Mulberry St.,

Donaldsonville, LA).”

        26.      Based on the above intercepted communication, your Affiant believes that S.

BUTLER asked WOODEN for money to pay for a car insurance bill. Furthermore, your

Affiant believes that WOODEN told S. BUTLER he had no money on his person and/or with

him, and all of his money was at 302 Mulberry St., Donaldsonville, LA.

        27.      Based on the above intercepted communication, your Affiant believes that

WOODEN utilizes 302 Mulberry St., Donaldsonville, LA, to store U.S. Currency derived from

illicit narcotics sales and distribution.

        B.       Intercepted Communication over TARGET TELEPHONE 3 on November
                 21, 2021, wherein WOODEN directed B. BUTLER to remove a bag from
                 underneath the hood of a vehicle located at 302 Mulberry St., Donaldsonville,
                 LA

        28.      On November 21, 2021, at approximately 5:42 p.m., agents intercepted Session

645, an outgoing call from WOODEN, over TARGET TELEPHONE 3, to telephone number

225-210-8440, utilized by B. BUTLER. During the telephone call, the following conversation

took place:

                 BUTLER: “Yeah?”

                 WOODEN: “I (WOODEN) had little, put bag under my red hood. You (B.
                 BUTLER) can go get it (bag) for me (WOODEN)?”

                 BUTLER: “A bag under your red hood?”



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                WOODEN: “Yeah.”

                BUTLER: “That red car?”

                WOODEN: “Yeah.”

                BUTLER: “All right. I'm a go get it. All right.”

       29.      Based on the above intercepted communication, your Affiant believes WOODEN

asked B. BUTLER to obtain a bag containing U.S. Currency and/or illicit narcotics from

underneath the hood of a red vehicle at 302 Mulberry St., Donaldsonville, LA. Furthermore,

your Affiant believes B. BUTLER agreed to go and retrieve the bag for WOODEN from

underneath the hood of the vehicle and move it inside of 302 Mulberry St., Donaldsonville,

LA.

       30.      Based on the above intercepted communication, your Affiant believes that

WOODEN utilizes 302 Mulberry St., Donaldsonville, LA, to store illicit narcotics and/or U.S.

Currency derived from illicit narcotics sales and distribution.

       C.       Intercepted Communication over TARGET TELEPHONE 3 on November
                22, 2021, wherein WOODEN directed B. BUTLER where to place a book
                sack inside 302 Mulberry St., Donaldsonville, LA

       31.      On November 22, 2021, at approximately 10:41 a.m., agents intercepted Session

720, an incoming call from telephone number 225-323-4558, utilized by S. BUTLER over

TARGET TELEPHONE 3 to WOODEN.

       32.      At the beginning of the telephone call, S. BUTLER told WOODEN to hold on as

she was trying to get B. BUTLER on the phone. Once B. BUTLER got on the telephone, the

following conversation took place:

                B. BUTLER: “Shide, (WOODEN) I'm (B. BUTLER) 'bout to leave (302
                Mulberry St., Donaldsonville, LA), you (WOODEN) need anything from here
                (302 Mulberry St., Donaldsonville, LA)? 'Cause I ain't gon' be long but I'm (B.
                BUTLER) 'bout to leave (302 Mulberry St., Donaldsonville, LA) for right now.

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                WOODEN: “Where you (B. BUTLER) put my book sack?”

                B. BUTLER: “It's where, where you (WOODEN) had it at. But, I'm a move it
                and put it in my room.”

                WOODEN: “Just uh, uh, hello?”

                B. BUTLER: “Yeah, I'm here.”

                WOODEN: “You can go put it in the deep freezer. No, don't put it in the deep
                freezer.”

                B. BUTLER: “Huh?”

                WOODEN: “Just set it (book sack) uh, just set it in one of your cabinets or
                something.”

                B. BUTLER: “I'm coming back but I mean Ty [ph], Ty, Ty gon' be gone too. We
                ain't gon' be that long.”

                WOODEN: “Alright.”

                B. BUTLER: “Alright.”

       33.      Based on the above intercepted communication, your Affiant believes B.

BUTLER asked WOODEN where WOODEN wanted her to place his book sack that contained

illicit narcotics and/or U.S. Currency. Furthermore, your Affiant believes WOODEN told B.

BUTLER to place the bag in the deep freezer and then WOODEN changed his mind and told B.

BUTLER to put his book sack in the cabinet.

       34.      Based on the above intercepted communication, your Affiant believes that

WOODEN utilizes 302 Mulberry St., Donaldsonville, LA, to store illicit narcotics and/or U.S.

Currency derived from illicit narcotics sales and distribution.




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       D.       Surveillance of WOODEN on November 28, 2021 at 119 W. Lulu St.,
                Gonzales, LA, 1713 St. Patrick St., Apartment 145, Donaldsonville, LA and
                302 Mulberry St., Donaldsonville, LA

       35.      On November 27, 2021, at approximately 7:28 p.m., agents intercepted Session

1398, an outgoing call from WOODEN, over TARGET TELEPHONE 3, to telephone number

225-323-1386, utilized by Kelly JONES (“K. JONES”). During the telephone call, the

following conversation took place:

                K. JONES: “Hello.”

                WOODEN: “Hello. Yeah, man.”

                K. JONES: “I'm fucking home (119 W. Lulu St., Gonzales, LA), yeah.”

                WOODEN: “I'm (WOODEN) 'bout to be on my way back down there (119 W.
                Lulu St., Gonzales, LA) in a lil' bit. Man fuck, I had came and catch a lil' play
                (narcotics sale). Up here in [Voices overlap]”

                K. JONES: “Well just call me (JONES) whenever you ready, brah. Just call me.”

                WOODEN: “Alright. Hey, you gonna be home (119 W. Lulu St., Gonzales, LA),
                huh?”

                K. JONES: “Yeah. Where else I'm a go?”

                WOODEN: “I'm saying look... Hello?”

                K. JONES: “Yeah.”

                WOODEN: “Aw... man, shit I'm trying to see right quick. Hold on. You around
                somebody?”

                K. JONES: “No, I'm by myself.”

                WOODEN: “Hey, what you, what you think he'll do for the thirty (30) of them
                bitches (pounds of methamphetamine)?”

                K. JONES: “I don't know. I gotta just ask him. Fuck.”

                WOODEN: “Like thirty (30) of them bitches (pounds of methamphetamine).”

                K. JONES: “But I wanna have the money (U.S. Currency) on me when I ask him

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                  'cause I done already talked to him. You know what I'm saying?”

                  WOODEN: “I'm trying to see, he, he, he, he gonna want, he still gonna want the
                  two (2) for the thirty (30)? ($2,000 per pound if buying thirty pounds)”

                  K. JONES: “I don't know. Fuck, that's what he, 'cause I told him I said, I'm gonna
                  be getting a few of 'em, he said if you get a few of 'em... he said it was the two (2)
                  so I'm a ask him.”

                  WOODEN: “Man, yeah man, I'm trying to get a lot of 'em, brah. You know what
                  I mean?”

                  K. JONES: “Yeah, hey but hit me on facetime, don't talk on the regular phone
                  like that.”

                  WOODEN: “They don't know what we talking 'bout. I'm a facetime you.”

         36.      Based on the above-described intercepted communication, your Affiant believes

K. JONES told WOODEN he was at his residence located at 119 W. Lulu St., Gonzales, LA.

Furthermore, your Affiant believes WOODEN told K. JONES he was going to come to his

house.

         37.      WOODEN asked K. JONES, if WOODEN bought thirty (30) pounds of

methamphetamine from a third party via K. JONES, if WOODEN could get a better price than

$2,000 per pound. Furthermore, your Affiant believes K. JONES told WOODEN he needed the

money ($60,000) from WOODEN for the purchase of the narcotics (30 pounds of

methamphetamine) prior to going and meeting the third party.

         38.      Based on the above-described intercepted communication, along with subsequent

intercepted communications and surveillance, your Affiant believes WOODEN traveled to 119

W. Lulu St., Gonzales, LA. Furthermore, your Affiant believes at that time WOODEN gave

JONES $60,000 so K. JONES could purchase thirty (30) pounds of methamphetamine at

$2,000 per pound for WOODEN.




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       39.      On November 28, 2021, at approximately 5:17 p.m., agents intercepted Session

1541, an outgoing call from WOODEN, over TARGET TELEPHONE 3, to telephone number

225-323-1386, utilized by K. JONES.

       40.      During the telephone call, K. JONES told WOODEN, “All he had was fourteen

(14) zips (ounces) that the dude brought him” and “He told... I (K. JONES) bought it for you

(WOODEN) 'cause he told me give him sixteen hundred ($1,600) for it (all 14 ounces). So, I (K.

JONES) bought it for you (WOODEN) where you could have something but, the rest of your

(WOODEN) money (U.S. Currency) in the bag. I got all that shit (U.S. Currency and 14 ounces

of methamphetamine) together for you.”

       41.      Later during the telephone call, WOODEN told K. JONES, “I'm (WOODEN)

'bout to go over there (K. JONES’ residence 119 W. Lulu St., Gonzales, LA), dawg.”

       42.      Based on the above-described intercepted communication, your Affiant believes

K. JONES stated he purchased fourteen (14) ounces of methamphetamine from another subject

for WOODEN. Furthermore, your Affiant believes K. JONES told WOODEN he had the

remainder of WOODEN’s money not used to purchase narcotics and the fourteen ounces of

methamphetamine for WOODEN in a bag. Your Affiant further believes WOODEN would

meet K. JONES at K. JONES’ residence.

       43.      At approximately 5:47 p.m., agents intercepted Session 1550, an outgoing call

from WOODEN, over TARGET TELEPHONE 3, to telephone number 225-323-1386, utilized

by K. JONES.

       44.      During the telephone call, WOODEN told K. JONES, “I'm outside your crib

(119 W. Lulu St. Gonzales, LA).” K. JONES replied to WOODEN, “Hey, I came run by

Rouse's. I'm 'bout to come.”



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       45.      Based on the above-described intercepted communication, your Affiant believes

WOODEN told K. JONES he was outside of his residence. Furthermore, your Affiant believes

K. JONES said he went to the grocery store and was on his way back to the residence to meet

WOODEN.

       46.      At approximately 6:03 p.m., agents established surveillance at 119 W. Lulu St.

Gonzales, LA. At that time agents observed a 2006 Honda Accord, bearing Louisiana license

624 DWR, at the residence. A records check revealed that the vehicle is registered to HARRIS.

       47.      At approximately 6:50 p.m., agents observed the vehicle leaving 119 W. Lulu St.,

Gonzales, LA proceed to LA 44, and proceed Southbound. Agents were able to positively

identify WOODEN as the driver of the vehicle. At that time, surveillance was discontinued.

       48.      Your Affiant reviewed E-911 data provided by AT&T indicating the location of

TARGET TELEPHONE 3. An analysis of this data revealed that, on November 28, 2021

between approximately 5:49 p.m. and 6:49 p.m., TARGET TELEPHONE 3 was located at 119

W. Lulu St., Gonzales, LA.

       49.      Based on the above analysis, in conjunction with surveillance and intercepted

communications, your Affiant knows WOODEN was at 119 W. Lulu St., Gonzales, LA.

Furthermore, your Affiant believes WOODEN obtained the remainder of U.S. Currency

belonging to WOODEN that was not spent on the purchase of narcotics and the fourteen (14)

ounces of methamphetamine from K. JONES.

       50.      At approximately 7:20 p.m., agents intercepted Session 1570, an incoming call

from telephone number 225-323-7813, utilized by GRAY, over TARGET TELEPHONE 3 to

WOODEN.




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       51.      During the conversation GRAY asked WOODEN, “Hey, you at the house (1713

St. Patrick St., Apartment 145, Donaldsonville, LA)?” WOODEN responded to GRAY,

“Yeah, nigga I told you I was [U/I]. I told you I was back in town.”

       52.      Later during the same telephone call, the following conversation took place:

                GRAY: “Bring me a half (half ounce of methamphetamine) out there real quick.”

                WOODEN: “You (GRAY) want a half (half ounce methamphetamine)?”

                GRAY: “No, look, I’m (GRAY) ‘bout to come up in there (1713 St. Patrick St.,
                Apartment 145, Donaldsonville, LA) and get the zip (ounce
                methamphetamine).”

                WOODEN: “Im saying, what you wanted?”

                GRAY: The zip (ounce methamphetamine). You got weed (marijuana) up in there
                (1713 St. Patrick St., Apartment 145, Donaldsonville, LA) too?”

       53.      Later during the same conversation, WOODEN asked GRAY, “What you

wanted? A half (half ounce methamphetamine) or a zip (ounce methamphetamine)?” GRAY

responded to WOODEN, “Just fix the zip (ounce methamphetamine).”

       54.      Based on the above-described intercepted communication, your Affiant believes

GRAY would arrive at 1713 St. Patrick St., Apartment 145, Donaldsonville, LA, to purchase

one ounce of methamphetamine from WOODEN. Furthermore, your Affiant believes GRAY

was inquiring if WOODEN also had marijuana.

       55.      At approximately 7:25 p.m., agents made a pass of the parking lot at 1713 St.

Patrick St., Donaldsonville, LA and observed GRAY and WOODEN standing by GRAY’s

blue Ford Mustang. Upon agents turning around and making another pass by the parking lot of

1713 St. Patrick St., Donaldsonville, LA, agents observed GRAY and WOODEN entering

1713 St. Patrick St., Apartment 145, Donaldsonville, LA.




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       56.      At approximately 7:53 p.m., agents observed WOODEN and GRAY exit 1713

St. Patrick St., Apartment 145, Donaldsonville, LA, and enter their respective vehicles and

depart 1713 St. Patrick St., Donaldsonville, LA.

       57.      Your Affiant reviewed E-911 data provided by AT&T indicating the location of

TARGET TELEPHONE 3. An analysis of this data revealed that, on November 28, 2021 at

between approximately 7:20 p.m., and 7:50 p.m., TARGET TELEPHONE 3 was located at

1713 St. Patrick St., Apartment 145, Donaldsonville, LA. Based on this analysis, in

conjunction with surveillance, your Affiant knows WOODEN was at 1713 St. Patrick St.,

Apartment 145, Donaldsonville, LA.

       58.      Based on the above-described intercepted communications, in conjunction with

surveillance and E-911 data, your Affiant knows WOODEN and GRAY proceeded inside 1713

St. Patrick St., Apartment 145, Donaldsonville, LA. Furthermore, your Affiant believes once

WOODEN and GRAY were inside 1713 St. Patrick St., Apartment 145, Donaldsonville, LA,

WOODEN distributed one ounce of methamphetamine to GRAY.

       59.      Based on the above-described intercepted communications, in conjunction with

surveillance and E-911 data, your Affiant believes WOODEN distributes methamphetamine at

1713 St. Patrick St., Apartment 145, Donaldsonville, LA.

       60.      Agents continued surveillance on WOODEN, who was still operating the Honda

Accord. WOODEN proceeded directly to 302 Mulberry St., Donaldsonville, LA.

       61.      Upon arrival at 302 Mulberry St., Donaldsonville, LA, agents observed

WOODEN park the Honda Accord in the driveway, exit the vehicle and enter 302 Mulberry

St., Donaldsonville, LA at approximately 8:05 p.m.




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       62.      At approximately 8:12 p.m., agents intercepted Session 1584, an incoming call

from telephone number 225-323-4558, utilized by S. BUTLER, over TARGET TELEPHONE

3 to WOODEN.

       63.      During the telephone call S. BUTLER asked WOODEN, “You by Betty (B.

BUTLER’s residence located at 302 Mulberry St., Donaldsonville, LA)?” WOODEN

responded to S. BUTLER, “Yeah.”

       64.      Later during the conversation WOODEN spoke to someone, believed to be B.

BUTLER, who is with WOODEN. WOODEN said, “More money….yeah Maw Maw (B.

BUTLER), I went to buy something (narcotics) Maw Maw (B. BUTLER) and the boy (K.

JONES) ain’t have it.”

       65.      Based on the above-described intercepted communication, your Affiant believes

WOODEN was explaining to B. BUTLER why he had U.S. Currency.

       66.      Based on the above-described intercepted communications, in conjunction with

physical surveillance, your Affiant believes WOODEN transported the U.S. Currency obtained

from GRAY during the narcotics transaction and the U.S. Currency returned from K. JONES to

302 Mulberry St., Donaldsonville, LA.

       67.      Based on the above-described intercepted communications, in conjunction with

surveillance, your Affiant believes WOODEN utilizes 302 Mulberry St., Donaldsonville, LA,

to store U.S. Currency derived from illicit narcotics sales and distribution.

             E. Surveillance of WOODEN conducting a narcotics transaction at 1713 St.
                Patrick St., Apartment 145, Donaldsonville, LA 70346 with LEWIS and
                subsequent traffic stop on November 29, 2021

       68.      On November 29, 2021, at approximately 3:30 p.m., agents intercepted Session

1628, an incoming call from telephone number 225-323-3045, utilized by LEWIS, over



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TARGET TELEPHONE 3 to WOODEN.

       69.      During the telephone call, LEWIS asks WOODEN, “Where you uh, where you

(WOODEN) at? By Raven (1713 St. Patrick St., Apartment 145, Donaldsonville, LA)?”

WOODEN responded to LEWIS, “Yeah.” LEWIS told WOODEN, “Alright, I’m coming pass

over there (1713 St. Patrick St., Donaldsonville, LA). You (WOODEN) still have them shards

(crystal methamphetamine in a rock like formation)?”

       70.      Later during the same telephone call, WOODEN asked LEWIS, “How much

(methamphetamine) you (LEWIS) wanted?” LEWIS replied to WOODEN, “I’m (LEWIS)

coming to get one (one ounce methamphetamine) right now.”

       71.      Based on the above-described intercepted communication, your Affiant believes

LEWIS would arrive at 1713 St. Patrick St., Apartment 145, Donaldsonville, LA, to purchase

one ounce of methamphetamine from WOODEN.

       72.      Continuing on the same date, at approximately 3:38 p.m., agents established

surveillance at 1713 St. Patrick St., Apartment 145, Donaldsonville, LA.

       73.      Continuing on the same date, at approximately 3:55 p.m., agents intercepted

Session 1629, an incoming call from telephone number 225-323-3045, utilized by LEWIS, over

the TARGET TELEPHONE 3 to WOODEN. During the telephone call, the following

conversation occurred:

                LEWIS: “I’m out here (1713 St. Patrick St., Donaldsonville, LA) yeah.”

                WOODEN: I’m ‘bout to come out there.”

                LEWIS: “Hey, you (WOODEN) got my (LEWIS) text, huh?”

                WOODEN: “Yeah”

                LEWIS: “Bring a whole one and a half (one and a half ounces of
                methamphetamine).”

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       74.      Based on the above-described intercepted communication, your Affiant believes

LEWIS arrived at 1713 St. Patrick St., Apartment 145, Donaldsonville, LA. Furthermore,

your Affiant believes LEWIS now wanted to obtain one and a half (1 ½) ounces of

methamphetamine from WOODEN.

       75.      At the same time of the above-mentioned intercepted communication, agents

observed a Chevrolet Suburban, bearing Louisiana license plate 396 EDL, arrive in the parking

lot at 1713 St. Patrick St., Donaldsonville, LA. A records check revealed the Chevrolet is

registered to LEWIS at 3126 Lemanville Cutoff Road, Donaldsonville, LA.

       76.      Continuing on the same date, at approximately 4:00 p.m., agents observed

WOODEN exit the front door of 1713 St. Patrick St., Apartment 145, Donaldsonville, LA,

and proceed to the driver’s door area of the Chevrolet Suburban and contact LEWIS.

       77.      Continuing on the same date, at approximately 4:22 p.m., WOODEN departed

from the driver’s door area of the vehicle and the Chevrolet Suburban left the parking lot of 1713

St. Patrick St., Donaldsonville, LA.

       78.      At that time, agents conducted continuous surveillance on the Chevrolet

Suburban. An APSO Deputy in a fully marked police unit conducted a traffic stop on the

Chevrolet for not using a turn signal when turning left from the 945 Loop onto LA Highway 308.

At that time, LEWIS was identified as the driver and sole occupant of the vehicle.

       79.      During the course of the investigation, following the traffic stop, approximately

three ounces of methamphetamine and approximately two grams of cocaine base was located in

the vehicle.

       80.      Your Affiant notes that WOODEN remained in the parking lot once LEWIS left

1713 St. Patrick St., Donaldsonville, LA, lounging on his vehicle and meeting no other



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persons. At approximately 4:38 p.m., agents observed WOODEN enter into 1713 St. Patrick

St., Apartment 145, Donaldsonville, LA.

       81.      Your Affiant reviewed E-911 data provided by AT&T indicating the location of

TARGET TELEPHONE 3. An analysis of this data revealed that, on November 29, 2021

between approximately 3:31 p.m. and 4:46 p.m., TARGET TELEPHONE 3 was located at

1713 St. Patrick St., Apartment 145, Donaldsonville, LA. Based on this analysis, in

conjunction with surveillance, your Affiant knows WOODEN was at 1713 St. Patrick St.,

Apartment 145, Donaldsonville, LA.

       82.      Based on the above-described intercepted communications, in conjunction with E-

911 data, surveillance and narcotics located during the traffic stop your Affiant knows

WOODEN retrieved at least one and a half ounces but as much as three ounces of

methamphetamine from 1713 St. Patrick St., Apartment 145, Donaldsonville, LA, and

proceeded to the parking lot of 1713 St. Patrick St., Donaldsonville, LA where WOODEN

distributed the methamphetamine to LEWIS.

       83.      Based on the above-described intercepted communications, in conjunction with

surveillance and E-911 data, and narcotics located during the traffic stop your Affiant knows

WOODEN distributes methamphetamine at 1713 St. Patrick St., Apartment 145,

Donaldsonville, LA.

       84.      Based on the above-described intercepted communications, in conjunction with

surveillance and E-911 data, and narcotics located during the traffic stop your Affiant believes

WOODEN stores U.S. Currency derived from illicit narcotics sales and distribution at 1713 St.

Patrick St., Apartment 145, Donaldsonville, LA.




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       F.       Communications between HARRIS and WOODEN on December 1, 2021
                wherein WOODEN directed HARRIS to obtain narcotics from within 1713
                St. Patrick St., Apartment 145, Donaldsonville, LA, and distribute them to
                KOOLAIDE

       85.      On December 1, 2019, at approximately 4:43 p.m., agents intercepted Session

1856, an outgoing call from WOODEN over TARGET TELEPHONE 3, to telephone number

225-802-7281, utilized by HARRIS, identified as WOODEN’s girlfriend.

       86.      During the telephone call, WOODEN stated to HARRIS, “Oh, I needed you

(HARRIS) to go get something for me (WOODEN) and give it to Koolaide.” HARRIS asked

WOODEN, “Where that's at?” WOODEN responded to HARRIS, “It's in the drawer at the

house (1713 St. Patrick St., Apartment 145, Donaldsonville, LA).”

       87.      Later during the telephone call, WOODEN stated to HARRIS, “It's in the

drawer, it's in the drawer in the room. You (HARRIS) gotta go get it. I got two (2) bags in there.

Just get one (1) of the bags and give it to him (KOOLAIDE).”

       88.      Based on this intercepted communication, your Affiant believes WOODEN told

HARRIS he needed her to go to 1713 St. Patrick St., Apartment 145, Donaldsonville, LA and

retrieve an unknown quantity of an unknown narcotics from a drawer. Furthermore, your Affiant

believes WOODEN told HARRIS to give the narcotics to a subject identified in the call as

KOOLAIDE.

       89.      On December 1, 2019, at approximately 4:46 p.m., agents intercepted Session

1860, an outgoing call from WOODEN over TARGET TELEPHONE 3, to telephone number

225-802-7281, utilized by HARRIS. During the telephone call the following conversation

occurred:

                WOODEN: “You made it to the house (1713 St. Patrick St., Apartment 145,
                Donaldsonville, LA)?”



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                HARRIS: “Yeah.”

                WOODEN: “He (KOOLAIDE) about to come right now.”

                HARRIS: “Alright.”

                WOODEN: “Just give it (narcotics) to him. He's (KOOLAIDE) gon' come back
                and bring me (WOODEN) the money (U.S. Currency).”

                HARRIS: “A'ight.”

       90.      Based on this intercepted communication, your Affiant believes HARRIS told

WOODEN she had arrived at 1713 St. Patrick St., Apartment 145, Donaldsonville, LA.

Furthermore, your Affiant believes that WOODEN told HARRIS that KOOLAIDE was on his

way to 1713 St. Patrick St., Apartment 145, Donaldsonville, LA to obtain the narcotics from

HARRIS, and KOOLAIDE would pay WOODEN at a later time for the narcotics.

       91.      On December 1, 2019, at approximately 4:47 p.m., agents intercepted Session

1862, an outgoing call from WOODEN over TARGET TELEPHONE 3, to telephone number

225-802-7281, utilized by HARRIS.

                WOODEN: “You got one (1) of the bags out there?”

                HARRIS: “No, I'm just gettin' in my home (1713 St. Patrick St., Apartment
                145, Donaldsonville, LA), Shide (WOODEN). Yeah, I got it.”

                WOODEN: “Leave the rubber band, just get one (1).”

                HARRIS: “Ah, God dam [U/I]”

                WOODEN: “'Cause you would get two (2). No, I don't know [U/I] take this right
                here.”

                HARRIS: “If you tell me to get one (1), why would I get two (2)? I ain't no
                retarded [U/I]… now why you (WOODEN) put this in this big ass box? Really?”

                [CONVERSATION CONTINUES]

                WOODEN: “He (KOOLAIDE) came over there (1713 St. Patrick St.,
                Apartment 145, Donaldsonville, LA) already?”

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                HARRIS: “Yeah, he (KOOLAIDE) just be leaving (1713 St. Patrick St.,
                Apartment 145, Donaldsonville, LA) now.”

                [CONVERSATION CONTINUES]

                HARRIS: “Yeah, I'm sorry.”

                WOODEN: “You gave it (narcotics) to him (KOOLAIDE) in a bag? Or… you
                (HARRIS) just gave it (narcotics) to him like that?”

                HARRIS: “I (HARRIS) had it (narcotics) in my jacket. I (HARRIS) was about
                to get a bag so he… I guess he look like he, he took it all, he put it in his shirt or
                something… I had it under my jacket.”

                WOODEN: “Alright.”

                HARRIS: “He must have put it in his shirt or something 'cause when I looked
                back I ain't see it no more.”

       92.      Based on this intercepted communication, your Affiant believes HARRIS told

WOODEN she was just walking in 1713 St. Patrick St., Apartment 145, Donaldsonville, LA.

Furthermore, your Affiant believes WOODEN instructed HARRIS to only give KOOLAIDE

one of the bags of narcotics. Additionally, your Affiant believes HARRIS told WOODEN that

KOOLAIDE just left and explained how HARRIS had the narcotics under her jacket and gave

it to KOOLAIDE who then placed it under his shirt.

       93.      Based on the above-described intercepted communications, your Affiant believes

HARRIS, at the direction of WOODEN, retrieved an unknown quantity of a narcotics from

1713 St. Patrick St., Apartment 145, Donaldsonville, LA, and proceeded to the parking lot of

1713 St. Patrick St., Donaldsonville, LA where HARRIS distributed the narcotics to

KOOLAIDE.

       94.      Based on the above-described intercepted communications, Affiant believes

HARRIS and WOODEN package, store and distribute methamphetamine at 1713 St. Patrick



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St., Apartment 145, Donaldsonville, LA.

       G.       Intercepted Communication over TARGET TELEPHONE 3 on December 3,
                2021, wherein WOODEN advised U/M 0925 he had a quantity of marijuana
                at 302 Mulberry St., Donaldsonville, LA

       95.      On December 3, 2021, at approximately 1:44 p.m., agents intercepted Session

2062, an incoming call from telephone number 225-717-0925, utilized by an Unknown Male

(“U/M 0925”) over TARGET TELEPHONE 3 to WOODEN. During the telephone call, the

following conversation took place:

                U/M 0925: “Hey, you (WOODEN) got some of that shit like Ty got?”

                WOODEN: “That Bubba (marijuana)?”

                U/M 0925: “Yeah.”

                WOODEN: “Yeah.”

                U/M 0925: “Man when you get time man pass on me, throw me a lil' gram (one
                gram marijuana), man.”

                WOODEN: “I got you, my nigga.”

                U/M 0925: “A'ight, my G.”

                WOODEN: “Hey, matter of fact I (WOODEN) got some (marijuana) by maw
                Betty (302 Mulberry St., Donaldsonville, LA). When you hear my car come on
                around there (302 Mulberry St., Donaldsonville, LA).”

       96.      Based on this intercepted communication, your Affiant believes the U/M 0925

asked WOODEN if he had one gram of marijuana (Bubba), to which WOODEN confirmed.

Furthermore, your Affiant believes WOODEN told U/M 0925 he had marijuana at 302

MULBERRY St., Donaldsonville, LA and instructed U/M 0925 to come to 302 Mulberry St.,

Donaldsonville, LA, to obtain the marijuana.

       97.      Based on the above-described intercepted communication, your Affiant believes

WOODEN packages, stores and distributes marijuana at 302 Mulberry St., Donaldsonvillle,

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LA.

       H.       Intercepted Communications on December 3, 2021, over TARGET
                TELEPHONE 3, wherein WOODEN instructed LEWIS to meet him at 302
                Mulberry St., Donaldsonville, LA to obtain methamphetamine

       98.      On December 3, 2021, at approximately 9:04 a.m., agents intercepted Session

2031, an outgoing call from WOODEN, over TARGET TELEPHONE 3, to telephone number

225-323-3045, utilized by LEWIS.

       99.      During the telephone call LEWIS asked WOODEN, “So how many (ounces) you

(WOODEN) got... shard (crystal methamphetamine in a rock like formation) up? WOODEN

replied to LEWIS, “The four (4 ounces) I told you, I got enough for a four (4 ounces). The rest,

the rest of the shit (methamphetamine), kinda shaky that's what I'm telling you.” LEWIS replied

to WOODEN, “Alright. Four (4 ounces), shard (crystal methamphetamine in a rock like

formation) up, right?”

       100.     Later during this telephone conversation WOODEN told LEWIS, “Well look,

just go by my grandma's (302 Mulberry St., Donaldsonville, LA) you heard me?” LEWIS

replied, “Huh?” to which WOODEN stated, “Go by my grandma’ (302 Mulberry St.,

Donaldsonville, LA).”

       101.     Based on this intercepted communication, your Affiant believes the LEWIS

asked WOODEN if he had four ounces of methamphetamine, to which WOODEN confirmed.

Furthermore, your Affiant believes WOODEN instructed LEWIS to come to 302 Mulberry St.,

Donaldsonville, LA, to obtain the methamphetamine.

       102.     Continuing on the same date, at approximately 3:30 p.m., agents intercepted

Session 2070, an incoming call from telephone number 225-323-3045, utilized by LEWIS over

TARGET TELEPHONE 3 to WOODEN. During the telephone call the following



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conversation took place:

                 LEWIS: “Nah, where you (WOODEN) at?”

                 WOODEN: “By my grandma' (302 Mulberry St., Donaldsonville, LA).”

                 LEWIS: “Alright. Give me (LEWIS) 'bout fifteen (15) minutes. I'm on my,
                 coming to you (WOODEN at 302 Mulberry St., Donaldsonville, LA) now.”

        103.     Based on this intercepted communication, your Affiant believes LEWIS asked

WOODEN where he was located, to which WOODEN advised 302 Mulberry St.,

Donaldsonville, LA. Furthermore, your Affiant believes LEWIS stated he would meet

WOODEN at 302 Mulberry St., Donaldsonville, LA, to obtain the methamphetamine.

        104.     Based on the above-described intercepted communication, your Affiant believes

WOODEN distributes methamphetamine at 302 Mulberry St., Donaldsonville, LA.

V.      CONCLUSION

        105.     Based on the facts set forth in this affidavit, as well as my training and

experience, your Affiant believes that WOODEN and others have violated Title 21, United

States Code, Sections 841(a)(1) and 846, and are utilizing the following locations: 1713 St.

Patrick St., Apartment 145, Donaldsonville, LA 70346 and 302 Mulberry St.,

Donaldsonville, LA 70346 to facilitate their methamphetamine and marijuana trafficking

activities.

        106.     Based on the above-detailed intercepted telephone communications, in

conjunction with physical surveillance, and cellular telephone location data, your Affiant

believes that WOODEN utilizes 1713 St. Patrick St., Apartment 145, Donaldsonville, LA

70346 to store, package and distribute illicit narcotics, such as methamphetamine and marijuana

and store U.S. Currency derived from illegal narcotics sales and distribution. Your Affiant

believes evidence, instrumentalities, and fruits of these narcotics trafficking activities are

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contained within 1713 St. Patrick St., Apartment 145, Donaldsonville, LA 70346.

         107.   Based on the above-detailed intercepted communications, in conjunction with

physical surveillance and cellular telephone location data, your Affiant believes that WOODEN

utilizes 302 Mulberry St., Donaldsonville, LA 70346, to store package, and distribute illicit

narcotics, such as methamphetamine and marijuana, and store U.S. Currency derived from illicit

narcotics sales and distribution. Your Affiant believes evidence, instrumentalities, and fruits of

these narcotics trafficking activities are contained within 302 Mulberry St., Donaldsonville, LA

70346.

         108.   Through my training, education, and experience, I have also learned that drug

traffickers maintain books, records, notes, airline tickets, money orders, and other papers and

documents relating to transportation, ordering, sale, and distribution of illegal controlled

substances in the place where they store their drugs. It is also common for narcotics traffickers

to hide drug sales and records of drug transactions in secure locations within their residence

and/or residence of family member and/or residences of close associates for their ready access

and control and to conceal them from law enforcement. It is also common for narcotics

traffickers to hide records of drug transactions in secure locations within their residence for their

ready access and control, and to conceal them from law enforcement. Narcotics traffickers also

conceal, in their residences, currency, financial instruments, precious metals, jewelry, and other

items of value and/or proceeds of illegal drug transactions, and evidence of financial transactions

relating to obtaining, transferring, secreting, or the spending of the money gained from illegal

narcotics-trafficking activities.

         109.   Your Affiant knows, through training and experience, that locations used by drug

traffickers to store methamphetamine and marijuana, and package methamphetamine and



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marijuana for distribution, often contain tools used for these purposes and other evidence of

narcotics trafficking. These items include, but are not limited to, methamphetamine and

marijuana kilogram wrappings, latex gloves, digital scales, packaging materials, cooking

materials, cutting materials, mixing devices, rubber gloves, firearms, U.S. currency, and ledgers

or logs containing records of past, present, or future drug transactions. Further, your Affiant

knows, through training and experience, methamphetamine and marijuana traffickers sometimes

keep firearms in their residences to protect the methamphetamine and marijuana and/or money

derived from the sale of narcotics.

       110.    Your Affiant knows, through training and experience, narcotics traffickers often

keep money derived from the sale of illegal controlled substances in their residence.

Furthermore, your Affiant knows, through training and experience, that locations used by

narcotics traffickers to count, store, and package money derived from the sale of illegal

controlled substances often contain tools used for this purpose. These tools include, but are not

limited to, U.S. currency, rubber bands, money counters, plastic wrap, digital calculators, safes,

strong boxes or other lockable containers, and written ledgers documenting dates, and amounts

of currency transferred and to whom these transfers occurred.

       111.    It is requested that the warrant and accompanying affidavit and application in

support thereof, as they reveal an ongoing investigation, be sealed until further order of the Court

in order to avoid premature disclosure of the investigation, guard against potential flight, and

better ensure the safety of agents and others, except that copies of the warrant in full or redacted

form may be maintained by the United States Attorney’s Office, and may be served on Special

Agents and other investigative and law enforcement officers of the DEA, federally deputized

state and local law enforcement officers, and other government and contract personnel acting



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under the supervision of such investigative or law enforcement officers, as necessary to

effectuate the warrant.

       112.    Based on the aforementioned information, I request the authority to search the

search the premises described in Attachment A, for the things described in Attachment B.




                                               Jason A.
                                                     A Dohm,
                                                        Dohm Task Force Officer
                                               Drug Enforcement Administration


       Affidavit submitted by email/pdf. and attested to me as true and accurate by telephone
                                                                              8th
consistent with Federal Rules of Criminal Procedure 4.1 and 41(d)(3) on the ____ day of

December, 2021.
                                                 s
                                               HONORABLE ERIN WILDER-DOOMES
                                               UNITED STATES MAGISTRATE JUDGE
                                               MIDDLE DISTRICT OF LOUISIANA




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                                       ATTACHMENT A

                                    Property to Be Searched

       The property to be searched is 302 Mulberry St., Donaldsonville, Louisiana 70346, to

include any outbuildings, storage sheds and vehicles associated with the premises if located

thereon within the curtilage.


       The property is further described as a single story, single-family dwelling. The residence

is constructed of red, multi-colored brick and light colored vinyl siding. The front door of the

residence is white in color and faces Mulberry Street. The numbers “302” are clearly displayed

in black numbering above the front door of the residence. Photographs of the property are

included below.
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                                  ATTACHMENT B

                            Particular Things to be Seized

   Items to be searched for and seized include the following:

1. Methamphetamine and marijuana;

2. Kilogram wrappings, digital scales located in places other than the kitchen and used for
   weighing of food or digital scales located anywhere in the residence if they contain drug
   residue, cutting agents (material commonly used to dilute methamphetamine to increase
   the quantity of the narcotics);

3. United States currency in denominations consistent with narcotics trafficking;

4. Written ledgers or records documenting dates and amounts of methamphetamine and/or
   currency transferred and to whom the transfer occurred with and logs containing records
   of past, present or future drug transactions, including customer lists;

5. Any cellular telephones or devices from which calls and texts can be made; and

6. Documents related to residency and/or ownership of the property being searched.
                             Case 3:21-mj-00107-UNA                      Document 1      12/08/21 Page 35 of 39

AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV                u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District
                                                          __________ DistrictofofLouisiana
                                                                                  __________

                  In the Matter of the Search of                             )
             (Briefly describe the property to be searched                   )
              or identify the person by name and address)                    )      Case No. 21- mj-107
               THE PREMISES LOCATED AT                                       )
                   302 MULBERRY ST.                                          )
            DONALDSONVILLE, LOUISIANA 70346                                  )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Middle   District of            Louisiana
(identify the person or describe the property to be searched and give its location):
  See Attachment "A"




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment "B"




                                                                           December 21, 2021
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      ✔
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       Erin Wilder-Doomes                    .
                                                                                                   (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:           12/08/2021 at 5:30 p.m.                                 s                  Judge’s signature

City and state: Baton Rouge, Louisiana                                                   Erin Wilder-Doomes, U.S. Magistrate Judge
                                                                                                         Printed name and title
                             Case 3:21-mj-00107-UNA                       Document 1      12/08/21 Page 36 of 39
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21- mj-107
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
           Case 3:21-mj-00107-UNA           Document 1      12/08/21 Page 37 of 39




                                       ATTACHMENT A

                                    Property to Be Searched

       The property to be searched is 302 Mulberry St., Donaldsonville, Louisiana 70346, to

include any outbuildings, storage sheds and vehicles associated with the premises if located

thereon within the curtilage.


       The property is further described as a single story, single-family dwelling. The residence

is constructed of red, multi-colored brick and light colored vinyl siding. The front door of the

residence is white in color and faces Mulberry Street. The numbers “302” are clearly displayed

in black numbering above the front door of the residence. Photographs of the property are

included below.
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       Case 3:21-mj-00107-UNA          Document 1      12/08/21 Page 39 of 39




                                  ATTACHMENT B

                            Particular Things to be Seized

   Items to be searched for and seized include the following:

1. Methamphetamine and marijuana;

2. Kilogram wrappings, digital scales located in places other than the kitchen and used for
   weighing of food or digital scales located anywhere in the residence if they contain drug
   residue, cutting agents (material commonly used to dilute methamphetamine to increase
   the quantity of the narcotics);

3. United States currency in denominations consistent with narcotics trafficking;

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   currency transferred and to whom the transfer occurred with and logs containing records
   of past, present or future drug transactions, including customer lists;

5. Any cellular telephones or devices from which calls and texts can be made; and

6. Documents related to residency and/or ownership of the property being searched.
